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                                                                        FILED: April 7, 2022


                          UNITED STATES COURT OF APPEALS
                              FOR THE FOURTH CIRCUIT


                                                           _

                                          No. 22-1251
                                       (5:22-cv-00050-M)
                                                           _

        MADISON CAWTHORN

                    Plaintiff - Appellee

        v.

        BARBARA LYNN AMALFI; LAUREL ASHTON; NATALIE BARNES;
        CLAUDE BOISSON; MARY DEGREE; CAROL ANN HOARD; JUNE
        HOBBS; MARIE JACKSON; MICHAEL JACKSON; ANNE ROBINSON;
        DAVID ROBINSON; CAROL ROSE; JAMES J. WALSH; MICHAEL
        HAWKINS; MELINDA LOWRANCE; ELLEN BETH RICHARD; TERRY LEE
        NEAL

                    Parties-in-Interest - Appellants

                                                   _

        CONSTITUTIONAL ACCOUNTABILITY CENTER

                    Amicus Supporting Appellants

        and

        DAMON CIRCOSTA, in his official capacity as Chair of the North Carolina State
        Board of Elections; STELLA ANDERSON, in her official capacity as a member
        of the North Carolina State Board of Elections; JEFF CARMON, in his official



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        capacity as a member of the North Carolina State Board of Elections; STACY
        EGGERS, IV, in his official capacity as a member of the North Carolina State
        Board of Elections; TOMMY TUCKER, in his official capacity as a member of
        the North Carolina State Board of Elections; KAREN BRINSON BELL, in her
        official capacity as the Executive Director of the North Carolina State Board of
        Elections

                     Defendants - Amici Curiae

        and

        NORTH CAROLINA REPUBLICAN PARTY

                      Amicus Supporting Appellee

                                                               _

                                             ORDER
                                                               _

              The motion for a stay pending review is denied as movants have not made the

        demanding showing required by Nken v. Holder, 556 U.S. 418 (2009). The motion

        to expedite the appeal is granted in part and the following schedule is adopted:

              Thursday, April 14, 2022:        Appellants’ Brief and Joint Appendix Due

              Monday, April 25, 2022:          Appellee’s Brief Due

              Friday, April 29, 2022:          Appellants’ Reply Brief Due

              Tuesday, May 3, 2022:            Oral Argument

                                               For the Court

                                               /s/ Patricia S. Connor, Clerk




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